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                                AFFIDAVIT
     I, Pamela Schwartz, being duly sworn, declare and state as

follows:

                         PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a criminal

complaint and arrest warrant against ROSALBA MEZA (“MEZA”), also

known as ROSALBA SCEVILLE, for a violation of Title 18, United

States Code, Section 1343 (Wire Fraud), and Title 26, United

States Code, Section 7206(1) (Subscription of a False Tax

Return).

     2.    The facts set forth in this affidavit are based upon

my personal observations; my training and experience; and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.          Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and part only.

             BACKGROUND OF SPECIAL AGENT PAMELA SCHWARTZ

     3.    I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) in the Orange County Resident Agency of

the Los Angeles Field Office.       I have been employed with the FBI

since May 2016.    I am currently assigned to a white-collar crime

squad, where my duties include the investigation of wire fraud,

mail fraud, and securities fraud matters.         I attended the FBI



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Academy and received specialized training related to

investigating white-collar crime.        During my tenure as an FBI

SA, I have conducted surveillance, analyzed financial records,

interviewed witnesses, drafted affidavits for arrest and search

warrants, and executed arrest and search warrants.

                        SUMMARY OF PROBABLE CAUSE
     4.    As further discussed below, from May 2017 through

December 2019, MEZA, while serving as Controller of an Anaheim,

California based plumbing company, made unauthorized transfers

of approximately $3,132,618 from company bank accounts to bank

accounts she owned or controlled and used the embezzled funds

for personal expenses.      In addition, for tax years 2017, 2018,

and 2019, MEZA willfully filed materially false federal income

tax returns, knowingly omitting the embezzled funds from her tax

returns.

                     STATEMENT OF PROBABLE CAUSE

     5.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own
knowledge of the investigation, I am aware of the following:

     A.    Background

     6.    Trilogy Plumbing, Inc. (“Trilogy”) and Matrix

Management, LLC (“Matrix”) are related companies.          Trilogy is a

plumbing company operating in Southern California.          Matrix was

organized to provide back-office support, payroll functions, and
other managerial oversight for Trilogy and other related




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companies.1      Trilogy and Matrix are both located in Anaheim,

California.

        7.    D.K. was at all relevant times, and currently is,

Trilogy’s Chief Executive Officer (“CEO”).            R.L was at all

relevant times, and currently is, the Chief Operating Officer

(“COO”).      Both are members of Matrix.

        8.    MEZA is the former Controller of Trilogy and Matrix.

According to D.K., MEZA was originally hired in approximately

2002 or 2003 as an accounts payable clerk.            As MEZA’s knowledge

and experience in the finance and accounting field grew, she was

given more responsibilities and ultimately promoted to the role

of Controller for Trilogy and Matrix.

        9.    Around 2008, due to financial difficulties in the

construction industry, as well as a desire for more flexibility,

MEZA proposed starting her own business and billing Trilogy and

Matrix a flat monthly fee instead of being a wage-earning

employee.      MEZA also provided accounting services to other

businesses during this time.

        10.   MEZA maintained this arrangement until approximately

2016 or 2017, when she requested to be brought back as a wage-

earning employee.       She was rehired under Matrix2 and remained in

the position of Controller until the discovery of her




1 These related companies include Coast West Plumbing and Legacy
Leasing, which are not involved in the present investigation.
2 Although MEZA was an employee of Matrix, she performed the
Controller function for Trilogy, Matrix, and their other related
companies.


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embezzlement of company funds and subsequent termination in

January 2020.

     11.    MEZA was also appointed the corporate Secretary for

Trilogy.   However, she had zero ownership stake in either

Trilogy or Matrix and did not have authority to authorize loans

on behalf of the companies.

     12.    As Controller, MEZA had access to and control over

Trilogy and Matrix’s corporate bank accounts and accounting

systems.   D.K. and R.L. also had access to those accounts and

systems but relied on and trusted MEZA to conduct the companies’

financial affairs.    MEZA also made bookkeeping entries and

prepared financial statements for Trilogy and Matrix.

     13.    While MEZA had the authority to transfer funds on the

companies’ behalf, she did not have authority to transfer funds

to herself without the prior approval of D.K. and R.L.           MEZA did

not have authority to issue loans or gifts on the companies’

behalf.

     14.    Other than an approximately $30,000 loan issued by

Trilogy to MEZA, approved by D.K. and R.L. in or around 2016,

MEZA was not entitled to any additional funds beyond her

approximately $65,000 per year salary.        No additional funds

beyond her salary were approved by D.K. or R.L.

     15.    According to D.K. and R.L., MEZA has an interest in La

Perla Farms, a melon farm located near Mazatlán, Sinaloa,

Mexico.    MEZA told D.K. she would repay the loan with proceeds

from the farm.




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        16.    According to records obtained from Orange County

Superior Court, on or about December 2, 2016, MEZA was awarded

sole ownership of a vacation home in Mazatlán, Mexico.3
        17.    Based on my review of law enforcement databases, MEZA

frequently travels to Mexico.         For example, in January 2021,

MEZA traveled to Mexico on two occasions.           In 2020, MEZA

traveled to Mexico twice.        In 2019, Meza traveled to Mexico on

two occasions in March as well as in July and September.              In

2018, MEZA traveled to Mexico in January, April, May, and July.

        B.     Discovery of Embezzlement

        18.    In or around February 2019, MEZA informed D.K. and

R.L. that Trilogy and Matrix did not have the funds available to

meet their payroll obligations.          D.K. and R.L. made personal

capital contributions that allowed the companies to meet their

payroll obligations.

        19.    In or around April 2019, an Internal Revenue Service

(“IRS”) Revenue Officer contacted Trilogy and Matrix because the

companies had missed their quarterly payroll tax obligations.

The companies had been current on their payroll tax obligations

prior.       The Revenue Officer spoke to D.K., R.L., and MEZA

regarding the missed payroll taxes.          MEZA became the point of

contact for the Revenue Officer due to her position as

Controller and the person responsible for the day-to-day

financial activities of the companies.           MEZA promised the

Revenue Agent payment within 30 days and the account was made

current.

3   Orange County Superior Court Case No. 16D000689.

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        20.   In or around October 2019, the companies again missed

their quarterly payroll tax obligations.           The Revenue Officer

contacted MEZA, and the account was again made current.

        21.   MEZA faxed the Revenue Officer copies of the

companies’ tax returns and proofs of payment each quarter.

        22.   On or about January 6, 2020, California Bank & Trust’s

(“CB&T”) Tustin branch President G.G. contacted D.K.             G.G. told

D.K. that CB&T identified an unusual Automated Clearinghouse

(“ACH”)4 transfer from the Trilogy bank account to a personal
account in the name of Rosalba MEZA.

        23.   Based on the information provided by G.G., D.K. and

R.L. began reviewing the businesses’ CB&T bank account records.

        24.   On or about January 9, 2020, D.K., R.L., along with

their attorney, and an uninvolved company employee who was

present to act as a witness, confronted MEZA about the

suspicious ACH transfers.        By the time of the meeting, they had

identified approximately $1 million in embezzled funds.              When

asked about the ACH transfers, MEZA stated she did not know why

the money was transferred to her personal account and would need

to review the accounting system to provide additional

information.      Before D.K. and R.L. could review the accounting

records with MEZA, she asked to use the restroom and fled the

building.

        25.   D.K. immediately called MEZA and asked her to return

to the office to discuss the issue.          MEZA said she would not

4 According to the Federal Reserve Bank of Atlanta’s website,
https://www.atlantafed.org/about/atlantafed, ACH transfers are
electronic credit and debit payments between banks.

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return to the office because she felt D.K. and R.L. had ambushed

her when they confronted her over the embezzlement.             MEZA was

subsequently terminated from Matrix.5
        26.   According to P.B., Trilogy and Matrix’s Certified

Public Accountant, MEZA was knowledgeable of accounting

principles and fully understood how to use Trilogy and Matrix’s

accounting system.

        27.   P.B reviewed Trilogy and Matrix’s accounting records

after MEZA’s termination.        Based on his analysis, he determined

that to conceal her scheme MEZA manipulated Trilogy and Matrix’s

accounting records.       P.B. determined that some of the financial

statements MEZA had provided to D.K., R.L., and P.B. during her

tenure as Controller were false.

        28.   D.K. stated that he was aware of a past allegation

that MEZA and her sister C.M.L., embezzled funds from another

plumbing company.       MEZA told D.K. that she had spoken to the FBI

about the allegation and was suing that plumbing company for

defamation.

        C.    Embezzlement and Tax Investigation

        29.   From reviewing financial records, including but not

limited to, bank statements, signature cards, and Federal

Reserve Bank records, and information provided to me by Internal

Revenue Service, Criminal Investigation (“IRS-CI”) SA Michael

Schwartz (“SA Schwartz”), I learned the following:

5 On or about February 13, 2020, Trilogy and Matrix filed suit
against MEZA in Orange County Superior Court Case No. 30-2020-
01131251-CU-FR-CXC, alleging, among other things, conversion and
theft, fraud, and unjust enrichment. The case is still actively
pending in civil court.


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            a.   Trilogy owns CB&T Business Analyzed checking

accounts ending in 0471 and 1641 (“Trilogy CB&T accounts”).

MEZA was a signer on the bank accounts until approximately

January 13, 2020.

            b.   Matrix owns CB&T Business Analyzed checking

accounts ending in 2621 and 7621 (“Matrix CB&T accounts”).           MEZA

was a signer on the bank accounts until approximately January

13, 2020.

            c.   MEZA solely owns JP Morgan Chase Bank Total

Checking account ending in 2518 (“MEZA Chase 2518”).

            d.   MEZA solely owns Wells Fargo Bank Preferred

Checking account ending in 2743 (“MEZA WF 2743”).

            e.   La Perla Enterprises, Inc. (“La Perla”) owns

Wells Fargo Bank Business Choice Checking account ending in 6148

(“La Perla WF 6148”).     MEZA is the sole signer on the bank

account.    According to the signature card obtained from Wells

Fargo Bank, La Perla is an S Corporation, of which MEZA is the

one hundred percent owner.

            f.   MEZA solely owns Bank of America Advantage Plus

checking account ending in 5839 (“MEZA BofA 5839”).

            g.   In 2017, MEZA made transfers from the Trilogy

CB&T accounts of approximately $233,189 to MEZA Chase 2518,

$308,986 to La Perla WF 6148, and $118,302 to MEZA WF 2743.

MEZA also made transfers from the Matrix CB&T accounts of

approximately $58,700 to MEZA Chase 2518 and $12,500 to MEZA WF

2743.




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           h.   In 2018, MEZA made transfers from the Trilogy

CB&T accounts of approximately $828,337 to MEZA Chase 2518 and

$503,041 to La Perla WF 6148.      MEZA also made transfers from the

Matrix CB&T accounts of approximately $83,259 to MEZA Chase 2518

and $14,745 to La Perla WF 6148.

           i.   In 2019, MEZA made transfers from the Trilogy

CB&T accounts of approximately $435,128 to MEZA Chase 2518,

$9,240 to La Perla WF 6148, and $25,470 to MEZA BofA 5839.           MEZA

also made transfers from the Matrix CB&T accounts of

approximately $665,982 to MEZA Chase 2518.

           j.   In total, from May 2017 through December 2019,

MEZA made transfers of approximately $3,296,880, to include

approximately $3,132,618 of unauthorized transfers, from the

Trilogy CB&T accounts and the Matrix CB&T accounts to bank

accounts she owned or controlled.

           k.   MEZA used the embezzled funds to pay personal

expenses including:

                i.    Approximately $292,137 in in-branch cash

withdrawals.

                ii.   Approximately $1,028,875 in ATM withdrawals

in the United States and Mexico.

                iii. Approximately $870,209 in wire transfers to

bank accounts in Mexico, owned by her sister C.M.L.

                iv.   Approximately $250,906 in transfers to

friends and other family members, including B.V., A.E., D.D.,

and R.G.




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                v.    Approximately $140,370 in rent payments to

B.V.W. for MEZA’s residence in San Clemente, California.

           l.   Based on information obtained from CB&T and the

Federal Reserve Bank of Atlanta, all the ACHs sent from the

Trilogy and Matrix CB&T accounts were routed via the Federal

Reserve Bank of Atlanta in Atlanta, Georgia.

           m.   According to their website, CB&T is based in San

Diego, California and is a division of Zions Bancorporation.

According to Zions Bancorporation’s website, it is headquartered

in Salt Lake City, Utah.

     30. According to SA Schwartz, income derived from

embezzlement schemes is taxable under the Internal Revenue Code,

specifically Title 26, United States Code Section 61(a).6
     31.   According to SA Schwartz, MEZA filed her self-prepared

2017, 2018, and 2019 U.S. Individual Income Tax Returns, Form

1040 (“Forms 1040”) with the Internal Revenue Service in March

2020.7   All three returns contained a jurat declaring they were

filed under penalty of perjury.       The signature on each appears
to match the signature on MEZA’s California driver’s license and

bank signature cards.

     32.   According to SA Schwartz, MEZA only reported taxable

income of approximately $36,300 in 2017 from a Schedule C,

$65,728 in 2018 and $62,234 in 2019 from wages she received from


6 “[G]ross income means all income from whatever source
derived….” (emphasis added)
7 According to SA Schwartz, the 2017 Form 1040, which MEZA filed
late in March 2020, was not processed by the IRS until
approximately November 2020, likely due to processing delays
arising from the COVID-19 pandemic.


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Matrix.    The tax returns did not include the approximately

$3,132,618 in additional income from the embezzled funds, as

described above in Paragraphs 29(g) to 29(i).8
     33.     Based on my discussions with SA Schwartz, I submit

that MEZA willfully filed materially false income tax returns

under penalty of perjury in violation of Title 26, United States

Code Section 7206(1) for the tax years 2017, 2018, and 2019 when

she knowingly omitted approximately $695,377 of additional

income in 2017, $1,363,654 of additional income in 2018, and

$1,073,586 of additional income in 2019.

     D.      Interview of MEZA on November 4, 2021

     34. On November 4, 2021, SA Schwartz interviewed MEZA at

her residence.     MEZA stated the following in summary and

substance:

             a.   MEZA was shown her U.S. Individual Income Tax

Returns for tax years 2017, 2018 and 2019 and verified the

following information:

                  i.    The tax returns were her tax returns.

                  ii.   The Social Security number listed on the tax

returns was her social Security number.

                  iii. She signed the tax returns for tax years

2017 and 2018 and the signature on the tax returns was her

signature.


8 The difference between the amount listed in Paragraph 29(j) and
Paragraph 32 is based on a conservative approach to calculating
MEZA’s unreported income. In determining an unreported income
amount, all income reported on MEZA’s federal income tax returns
was subtracted from the identified transfers from the Trilogy
CB&T accounts and Matrix CB&T accounts.


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                 iv.   MEZA mailed the tax returns to the IRS for

tax years 2017 and 2018.

                 v.    MEZA e-filed with the IRS the tax return for

tax year 2019.

                 vi.   The address listed on the tax returns was

MEZA’s former residence in San Clemente, California.

                 vii. The income reported on MEZA’s 2017 Schedule

C was from income derived from bookkeeping work she performed

for La Perla Farm.

           b.    MEZA verified she worked at Matrix from

approximately 2000 until early 2020.

           c.    After being asked to verify additional

information about the income reported on her tax returns MEZA

ended the interview.




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                               CONCLUSION
     35. For all of the reasons described above, there is

probable cause to believe that MEZA has committed a violation of

Title 18, United States Code, Section 1343 (Wire Fraud), and

Title 26, United States Code, Section 7206(1) (Subscription of a

False Tax Return).



                                                  /s/
                                         PAMELA SCHWARTZ,
                                         Special Agent, FBI


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____
                   4th day of
November, 2021.


        /s/ Autumn D. Spaeth
THE HONORABLE AUTUMN D. SPAETH
UNITED STATES MAGISTRATE JUDGE




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